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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                                                        Receipt number AUSFCC-8339408
Center for Excellence in Higher Education,
Inc.

                        Plaintiff,                              22-1732 C
                                                      Case No: ________________________
v.

The United States of America                          Complaint

                       Defendant.



       Plaintiff, Center for Excellence in Higher Education, Inc. (“CEHE”), brings this action

against the United States of America seeking damages and other relief based on the United States

Department of Education’s (“Department’s”) (1) breach of an escrow agreement by which the

Department held CEHE’s funds; (2) breach of its fiduciary duties owed to CEHE as the holder of

CEHE’s escrowed funds; (3) breach of its contract with CEHE setting out the parties’ rights and

obligations with respect to CEHE’s participation in federal student aid programs; (4) breach of the

implied duties of good faith and fair dealing with respect to that contract; (5) illegal retention or

taking of CEHE’s funds for public use without compensation in violation of the Fifth Amendment;

and (6) illegal exaction of CEHE’s funds in contravention of applicable law. CEHE is an IRS-

recognized 501(c)(3) organization, and the Department’s unlawful actions caused substantial harm

to CEHE and its nonprofit mission of improving higher education in the United States. This action

seeks damages to restore CEHE’s ability to continue its nonprofit objectives in the amount of the

escrow funds currently held by the Department, the funds CEHE advanced to its students in

expectation of the Department’s legal obligation to reimburse CEHE for those funds, lost revenues,

loss of business value, interest, and any other legal or equitable relief as the Court may deem just

and proper. In support of this action, Plaintiff states and alleges the following:


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                                           Introduction

       1.       Private career education is the one of the oldest forms of education in the United

States. Long before the nation’s public educational system was developed, Benjamin Franklin

became one of the first advocates of vocational education. He and other entrepreneurs operated

small proprietary schools focused on teaching skills and trades such as surveying, navigation,

bookkeeping, and technical drawing. Over the years, these private schools expanded to provide

workforce training in business, administration, allied health, and other areas. They have been

referred to by many names, including “trade schools,” “proprietary schools,” “vocational schools,”

and, as used in the Complaint, “career colleges.”

       2.       Career colleges have offered higher education and career opportunities to people

who were unable to access the country’s traditional colleges and universities. They played an

instrumental role in opening up education to the more vulnerable and disadvantaged citizens of

our communities. While traditional schools offered longer bachelor’s and more-advanced degrees

to academically successful applicants, career colleges focused on career-focused programs

directed at specific outcomes for students seeking entry to a specific job field.

       3.       Today, career colleges continue to provide critical career training opportunities,

often to members of disadvantaged communities underserved by traditional universities. Over a

decade ago, proprietary career schools led the development of online education, which proved

invaluable during the recent COVID pandemic. Proprietary career schools also led the way in

innovating education suited to teaching adults by providing fully staffed placement offices for

graduates, offering flexible schedules and evening programs, and focusing on hands-on career

training with limited general education.



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       4.       These efforts have proven effective. Notwithstanding their focus on training

disadvantaged communities and students deemed unlikely to succeed in traditional educational

settings, career colleges consistently outperform public institutions, such as community colleges.

According to data from the Department’s College Scorecard and Integrated Post-Secondary Data

System (“IPEDS”), career colleges report similar graduation rates for bachelor’s degree programs

to those reported by public institutions (41.9% for career colleges and 47.8% for public

institutions) and associate’s degree graduation rates that more than double those at public

institutions (61.2% for career colleges to 30.5% for public institutions).

       5.       Congress has recognized the value of these schools and the training they provide,

and the Higher Education Act specifically authorizes their participation in Title IV student

assistance programs equally with traditional colleges and universities. But Department leadership

and ideological critics of the sector (including some members of Congress) disagree with

Congress’s decision to make federal aid available to proprietary institutions, and they have

coordinated their efforts to eliminate proprietary schools in circumvention of legislative intent.

Those critics have worked hard to link “for-profit” and “predatory” in the public’s mind. As a

result, one seldom sees a school referenced to as “for-profit” without the “predatory” modifier.

       6.       This class of professional critics moves seamlessly between government service,

thinktanks, and private entities, and believes that the profit motive is inherently incompatible with

higher education. For-profit critics have worked hard, consistent with their ideological bias

towards public education, to close proprietary career schools, regardless of their compliance with

Department requirements.

       7.       Department leadership, in coordination with these other entities, has developed

tools that it improperly wields for this purpose:



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             a. It imposes oppressive and disproportionate investigations based on spurious

       complaints.

             b. It pressures accreditors and other regulators to do the same.

             c. It selectively enforces financial responsibility requirements to force proprietary

       career schools to impose massive financial securities aimed at crippling the schools’ ability

       to fund operations.

             d. And it changes payment methods to fatally restrict cash flows, guaranteeing

       closure.

       8.       These tools have proven to be extraordinarily effective. Over 1,194 proprietary

schools, consisting of thousands of branches and locations, have closed since 2011.

       9.       Once the Department targets a school, there is almost no hope of staying open,

regardless of the school’s actual compliance with Department requirements.

       10.      CEHE is one of those institutions. CEHE became a target when it acquired a group

of proprietary career schools in 2012 with the goal of operating them as nonprofit colleges. CEHE

operated successfully as an IRS-recognized 501(c)(3) nonprofit organization for years before it

acquired the colleges through an arms-length merger. One of those colleges, Stevens-Henager

College was founded in 1892. CEHE made the decision to acquire and operate the colleges as part

of its nonprofit mission to promote excellence in higher education.

       11.      Indeed, upon information and belief, just prior to the acquisition, Department

officials were searching for ways to terminate CEHE’s colleges from Title IV programs. The

officials lamented the fact that the colleges had been found to be in compliance with Department

requirements and openly hoped that the Department could generate findings aimed at putting the

schools out of business.



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       12.     Given the animosity towards the profit motive, one would expect for-profit critics

to support CEHE’s efforts to operate the schools as nonprofits. As with other nonprofits, CEHE’s

revenues were devoted exclusively for nonprofit educational purposes, including making grants to

other nonprofit institutions of higher education. From 2017 to 2021, those grants totaled

approximately $7.9 million. But the Department and for-profit critics simply refused to let

proprietary colleges shed the for-profit stigma they worked so hard to create.

       13.     Rather, they opened their tool chest to wage a near decade long attack on CEHE,

forcing its inevitable closure. First, the Department sought to cripple CEHE with a demand for a

massive financial security it knew CEHE was incapable of providing. When that proved

unsuccessful, the Department pressured and supported CEHE’s accreditor, other federal agencies,

and state regulators to inundate CEHE with costly and oppressive investigations tied to anonymous

and uncorroborated smears against the institution. None of those smears ever proved to be

meritorious. Finally, the Department succeeded in forcing closure by placing CEHE on what is

known as heightened cash monitoring 2 (“HCM2”) status—the most significant weapon in its

arsenal for closing proprietary career schools. Once a school is on HCM2, it must advance all

funding and seek reimbursement from the Department. Simply put, HCM2 bleeds schools while

on the promise of future reimbursement that all too frequently is never made. Here, the Department

promised to process CEHE’s HCM2 submissions consistent with regulatory requirements, but it

never intended to pay. Instead, it withheld over $50 million in funds rightly owed to CEHE with

the intent of forcing CEHE’s precipitous closure.

       14.     The Department acted in bad faith and in violation of the program participation

agreement (“PPA”) by intentionally closing CEHE and even preventing CEHE from providing an

orderly teach-out of its remaining students.



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                                    Parties and Jurisdiction

       15.     CEHE is a tax-exempt nonprofit corporation under Section 501(c)(3) of the Internal

Revenue Code. The corporation exists and operates pursuant to the laws of Delaware. Its principal

place of business is P.O. Box 575777, Salt Lake City, Utah 84157.

       16.      At the time of the acts for which CEHE seeks damages, it owned four institutions

of higher education: Stevens-Henager College (“SHC”), d/b/a Independence University (“IU”),

CollegeAmerica Denver, CollegeAmerica Arizona, and California College San Diego (“CCSD”)

(together, the “Colleges”). Each institution operated multiple campuses.

       17.     All of CEHE’s institutions participated in federal student aid programs under Title

IV of the Higher Education Act (“Title IV” or “Title IV programs”) by entering into a PPA with

the Department. The PPAs are the contracts between the Colleges and the Department with respect

to the Colleges’ participation in Title IV. The PPAs for SHC and CCSD are attached as Exhibits

1 and 2. The Colleges were eligible to participate in Title IV programs prior to closure.

       18.     A majority of the students attending the Colleges used Title IV programs to fund

some or all of their education. Title IV programs include many different types of financial

assistance. The Colleges participated in the Federal Pell Grant Program, the Federal Supplemental

Opportunity Grant Program, the Federal Work-Study Program, the Federal Family Education Loan

Program, and the Federal Direct Loan Program.

       19.     The Colleges exclusively offered career-focused degree programs, as opposed to

shorter certificate programs. SHC/IU offered master’s level degree programs as well as bachelor’s

and associate’s degree programs. CollegeAmerica and CCSD offered bachelor’s and associate’s

degree programs. Most of CEHE’s students attended programs for careers in the healthcare




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professions, such as Medical Assisting, Nursing, Health Services Management, and Respiratory

Care. The Colleges also offered business, accounting, and graphic arts degree programs.

       20.       The Colleges, and their programs, were accredited and approved by the Accrediting

Commission of Career Schools and Colleges (“ACCSC”). ACCSC is recognized by the

Department as an independent accrediting agency. To be eligible to participate in Title IV

programs, institutions must maintain accreditation from a Department-recognized accreditor.

       21.       The Department is an executive agency of the United States Government. It was

created by the Department of Education Organization Act of 1979, 20 U.S.C. § 3401 et seq., Pub.

L. No. 96-88, 93 Stat. 668. The Department is headquartered at 400 Maryland Avenue, S.W.,

Washington, D.C. 20202.

       22.       This Court has subject matter jurisdiction under the Tucker Act, 28 U.S.C. § 1491,

because this action is a claim for money damages founded on the Department’s breaches of the

Colleges’ respective PPAs and an escrow agreement, which are both valid and enforceable

contracts.

       23.       Additionally, or in the alternative, subject matter jurisdiction under the Tucker Act,

28 U.S.C. § 1491, exists because this action is based upon the Department’s illegal retention or

taking of CEHE’s money for public use in violation of the Fifth Amendment’s Takings Clause.

       24.       The Court also, or in the alternative, has subject matter jurisdiction under the

Tucker Act, 28 U.S.C. § 1491, because this action seeks to remedy the Department’s illegal

exaction of funds it was required, by law, to reimburse CEHE for Title IV disbursements. CEHE

disbursed those funds to students on the Department’s behalf and at the Department’s direction.




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                            Factual Allegations in Support of Claims

I. The Department used its financial responsibility standards as a tool to extract, and then
   unlawfully retain, an intentionally oppressive financial security.

   a. The Department and CEHE entered the Escrow Agreement, which set the terms by
      which the Department held CEHE’s funds in escrow.

       25.      CEHE and the Department entered an escrow agreement on or about June 8, 2015

(Ex. 3, “Escrow Agreement”), in which CEHE agreed to post $42.9 million in three deposits of

$14.3 million each, with the final payment to be made by December 31, 2015. CEHE made all

payments as required by the Escrow Agreement.

       26.      The Escrow Agreement set the terms under which the Department would hold

CEHE’s funds in escrow. In exchange for continued authorization to participate in Title IV

programs, CEHE agreed to post the escrow funds subject to the following conditions:

             a. CEHE would provide the funds in three installment payments by certain deadlines.

       Id.

             b. The Department would maintain the escrow funds on behalf of CEHE, and could

       only draw them down for one or more of three specified purposes: (1) to pay refunds of

       institutional or non-institutional charges owed to or on behalf of current or former students

       of the Colleges, whether the Colleges remained open or had closed; (2) to provide for the

       “teach-out” of students enrolled at the time of the closure of the Colleges; and (3) to pay

       liabilities owing to the Secretary arising from acts or omissions by the Colleges before the

       expiration of the Escrow Agreement, for violations of any agreement entered into by the

       Colleges with the Secretary regarding the administration of programs under Title IV of the

       HEA. Id.




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             c. The Department was required to provide notice to CEHE whenever any of the

       escrow funds were used, and it would identify the amount of funds used and how they were

       applied. Id.

       27.      The Escrow Agreement allowed the Department to hold the funds until December

31, 2016, unless the Department “notified [CEHE] in advance of a scheduled expiration date [] the

basis for the Department to require the Agreement to be extended for another year.” Id.

       28.      But, as discussed below, the Department failed to honor the terms of the Escrow

Agreement. At first, the Department created specious reasons to extend the term of the Escrow

Agreement. Then, it simply ignored CEHE’s requests for return of the funds.

   b. The Department manufactured pretextual reasons to extend the term of the Escrow
      Agreement.

       29.      The Department failed to return the escrow funds on or after the December 31, 2016

expiration date, despite providing no advance notice that it would extend the term of the Escrow

Agreement.

       30.      The Department’s stated reason for the escrow requirement was because CEHE’s

“composite score,” a financial ratio used to assess an institution’s compliance with financial

responsibility requirements, fell below the Department’s minimum standard. Ex. 4 at 1 (January

26, 2015 letter from the Department demanding letter of credit). CEHE’s low composite score

stemmed from the debt and goodwill it assumed as part of the financing of a transaction in which

CEHE merged with the Colleges on December 31, 2012.

       31.      When the Escrow Agreement expired on December 31, 2016 pursuant to its original

terms, CEHE’s composite score exceeded the Department’s minimum standard.




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       32.     CEHE notified the Department in a letter dated January 3, 2017 that the Escrow

Agreement, by its terms, had expired on December 31, 2016. Ex. 5 (January 3, 2017 letter from

CEHE seeking return of escrow funds).

       33.     But the Department refused to return CEHE’s funds. Instead, in a January 9, 2017

letter, the Department said it would not release the funds, based on an improper November 22,

2016 citation for a late audit submission. Ex. 6 (January 9, 2017 letter from the Department

denying CEHE’s request to release escrow funds).

       34.     The citation stemmed from CEHE’s purportedly late submission of its financial

audit for the fiscal year ending (“FYE”) December 31, 2015.

       35.     In fact, CEHE had timely submitted its FYE 2015 financial audit. Nonetheless, to

create a basis to assert it was late, the Department contended that CEHE’s failure to include a

statement regarding compliance with the 90/10 rule—a regulation applicable only to for-profit

entities and having no bearing on timeliness—rendered the submission untimely.1

       36.     When CEHE submitted its FYE 2015 financial audits without the 90/10 calculation,

it had reasonable grounds to believe that the calculation was not required because the Colleges

were in fact nonprofit entities for purposes of participating in Title IV programs.

       37.     Just before CEHE acquired the Colleges, the Department expressly told CEHE that

the Colleges would become nonprofit institutions and would only have to comply with the 90/10

requirement for the first fiscal year after the merger, FYE 2013. Ex. 7 at 2 (December 20, 2012

pre-acquisition review letter). As instructed, CEHE submitted its FYE 2012 and FYE 2013 audited

financial statements with an attestation confirming compliance with 90/10 requirements. CEHE




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  The 90/10 rule requires a proprietary institution to derive at least ten percent of its revenue
from non-federal sources. 20 USC 1094(a)(24).
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submitted its FYE 2014 audited financial statements without a 90/10 attestation based on its

understanding that the Colleges were nonprofit institutions. The Department accepted that audit

without issue. Approximately a year later, CEHE submitted its FYE 2015 audited financial

statements, which were also prepared under nonprofit requirements.

       38.     But in November 2016 the Department deviated from its prior guidance and course

of dealing with CEHE and denied as untimely CEHE’s 2015 financial statements because they

failed to include a demonstration of 90/10 compliance. CEHE promptly remedied the issue after

being notified of the citation and submitted an amended audited financial statement in December

2016 demonstrating compliance with 90/10 requirements.

       39.     By way of background, the Colleges became nonprofit institutions when CEHE

acquired them through a December 31, 2012 merger.

       40.     The College’s former owner, Carl Barney, was in the process of retiring at the time

of the merger. The Colleges would remain as Mr. Barney’s legacy, and it was important to him

that they continue, in perpetuity, to deliver high-quality and high-caring education to career-

focused learners.

       41.     Prior to the merger, CEHE availed itself of the Department’s pre-acquisition review

process to receive guidance on any issues or Department requirements that might create

impediments to the proposed transaction.

       42.     The pre-acquisition review process is important because the Department requires

institutions to submit the formal application for approval of a change of ownership or control after

the event has occurred. The process is intended to alert the parties to the transaction to problems

or conditions that might cause them to abandon the transaction entirely.




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       43.     The pre-acquisition review process was particularly important to CEHE because it

understood that the merger would cause the Colleges’ conversion from proprietary to nonprofit

status by virtue of being owned and operated by a CEHE, an IRS-recognized 501(c)(3) tax-exempt

nonprofit organization. As discussed above, only proprietary institutions must comply with the

90/10 requirements. CEHE needed to know if the Department intended to deviate from its long-

standing practice of deferring to the IRS’s nonprofit determination.

       44.     Additionally, CEHE recognized that the debt it would incur to finance the

transaction would cause its composite score to fall below the Department’s minimum standard.

When an institution’s composite score falls below Department standards, the institution may be

required to provide financial security as a condition of continued Title IV eligibility. Upon

information and belief, the Department’s standard practice was to require institutions with low

composite scores to post a letter of credit in the amount of ten percent of the Title IV funds

distributed in the prior year. CEHE was prepared to meet that requirement, but it needed to be sure

that the Department did not intend to deviate from its standard practice by requiring a more

oppressive financial guarantee that might prevent the Colleges from meeting their operational

expenses.

       45.     Accordingly, CEHE prospectively asked the Department during pre-acquisition

review whether the Colleges’ conversion to nonprofit status would impact its Title IV eligibility

and whether the Department would require CEHE to post a letter of credit exceeding ten percent.

Ex. 8 at 3-4 (October 2, 2012 letter from CEHE to the Department requesting pre-acquisition

review).

       46.     After requesting, and receiving, substantial documentation regarding the terms and

structure of the transaction, the Department notified CEHE in a letter dated December 12, 2012



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that it had completed its pre-acquisition review. Ex. 7. The Department expressly stated that it did

“not perceive any impediment to the issuance of a Temporary [PPA] upon completion of the sale

transaction,” and gave no indication that it intended to deviate from its prior practice of requiring

a ten percent letter of credit. Id. at 2. The Department also recognized that the transaction would

cause “a change in structure for the institutions from proprietary to private not-for-profit.” Id. The

Department told CEHE that it would have to report a 90/10 calculation for the transitional year,

FYE 2013, which CEHE did. Id. That followed the Department’s own guidance to institutions

regarding nonprofit conversion. See Department of Education, Federal Student Aid Handbook,

Vol. 2, Ch. 5, p. 2-65 (August 2015) (“A school that converts from a for-profit to a nonprofit status

must report its compliance with the 90/10 revenue test for the first year after its conversion.”)

(emphasis added). The Department also offered no indication that it intended to deviate from its

prior practice of requiring a ten percent letter of credit. See Ex. 7.

        47.     CEHE relied on the Department’s express guidance and openly operated the

Colleges as nonprofit institutions. But years after the transaction, the Department deviated from

its guidance in two ways. First, it required CEHE to post a financial security that far exceeded ten

percent. Then, it revoked its express recognition of the Colleges as nonprofit institutions and,

without notice, retroactively imposed 90/10 requirements as a basis to keep the funds, without

providing any opportunity to remedy or cure the issues that supposedly justified the extraordinary

retroactive steps taken by the Department.

        48.     With respect to the former, the Department waited until over two years after the

merger and, in a letter dated January 26, 2015, demanded a fully collateralized letter of credit in

the amount of $71,600,000, representing 50% of the Title IV funds distributed by the Colleges

in the previous financial aid award year. Ex. 4 at 2. The Department’s demand from CEHE was



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unprecedented and greatly exceeded what the Department had previously required from other

institutions that underwent a conversion from for-profit to nonprofit. Moreover, CEHE’s FYE

2013 audited financial statements, which the Department had reviewed, showed that CEHE had

less than $10 million in cash to put up as a financial security—nowhere near the amount demanded

by the Department. Thus, the Department knew CEHE did not have the funds to meet the letter of

credit demand. Only after an intervention by the Utah Congressional delegation on CEHE’s behalf

did the Department agree to meet with CEHE to negotiate a reduction of the demand to $42.9

million, which CEHE provided to the Department pursuant to the terms of the Escrow Agreement.

       49.     CEHE had to immediately implement a drastic restructuring of its operations for

the remainder of 2015 in order to satisfy the Department’s escrow requirements. During that

process, CEHE was also able to negotiate a significant reduction in its outstanding debt, which

enabled CEHE to satisfy the Department’s financial responsibility composite score standard for

FYE 2015 and for each year going forward.

       50.     Then, in a decision dated August 11, 2016—44 months after the merger—the

Department issued a decision announcing its refusal to recognize the Colleges’ nonprofit status.

More alarmingly, the Department told CEHE that the Colleges had never been recognized by the

Department as nonprofit institutions.

       51.     The Department’s sudden and unexplained deviation from its prior guidance with

respect to both the escrow requirements and the College’s nonprofit status created immense and

improper burdens on CEHE. Nonetheless, CEHE was able to post the escrow funds, rehabilitate

its composite score, and demonstrate 90/10 compliance almost immediately after the Department

retroactively imposed those requirements. In other words, at the time the Escrow Agreement

expired, CEHE had complied with all Department requirements.



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       52.     But the Department refused to release $16,234,899 of the escrow funds. Its sole

basis to retain the funds was the purportedly late FYE 2015 audit submission. Based on that finding

alone, the Department told CEHE that it was extending the term of the Escrow Agreement to

December 31, 2020. Ex. 9 at 1-2 (November 13, 2017 letter from the Department).

       53.     CEHE opted to allow the Department’s modification of the Escrow Agreement

because it was hopeful that the parties would be able to amicably resolve a lawsuit CEHE had filed

challenging the Department’s refusal to recognize CEHE’s nonprofit status. The parties were

eventually able to settle their dispute with regard to CEHE’s nonprofit status, and on November

29, 2018 the Department issued a new decision in which it officially recognized the Colleges’

nonprofit status. However, the Department declined to withdraw its November 22, 2016 citation

for CEHE’s purportedly late FYE 2015 audit submission.

       54.     In May 2020, CEHE sought confirmation from the Department that it intended to

honor the modified December 31, 2020 expiration date. Ex. 10 (May 11, 2020 letter from CEHE).

But the Department instead notified CEHE that it would again extend the term of the Escrow

Agreement and demanded that CEHE increase the escrow funds by over $4.6 million. Ex. 11 (May

20, 2020 letter from the Department demanding additional escrow funds); Ex. 12 (May 20, 2020

letter from the Department extending term of escrow agreement).

       55.     The Department erroneously claimed that, notwithstanding its prior promise to

release the funds after December 31, 2020, its regulations precluded release of the funds until

CEHE’s FYE 2019 and FYE 2020 audited financial statements were submitted and accepted via

the Departments eZ-Audit system. Ex. 12.

       56.     Before providing the additional $4.6 million, CEHE required an express

confirmation from the Department that it would release the escrow funds after submission of



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CEHE’s FYE 2019 and FYE 2020 audits, which it planned to submit in March 2021. Ex. 13 (May

26, 2020 letter from CEHE seeking confirmation of escrow release date).

          57.   In a letter dated May 29, 2020, the Department expressly confirmed that it would

release the funds no later than two weeks after the audits were submitted and accepted by the

Department. Ex. 14 (May 29, 2020 letter from the Department confirming release date of escrow

funds).

          58.   In reliance on the Department’s express confirmation, CEHE provided the

additional $4.6 million in escrow funds, raising the total amount of CEHE’s funds held in escrow

to $20,877,279.

          59.   CEHE timely submitted its FYE 2019 audit submission on May 21, 2020 and timely

submitted its FYE 2020 audit submission on March 5, 2021. Nonetheless, the Department refuses

to release CEHE’s escrow funds. The Department continues to hold over $20 million of CEHE’s

escrow funds in violation of the Escrow Agreement, as amended, and in breach of the

Department’s fiduciary duties to CEHE as holder of the escrow funds.

   c. The Department’s reversal of its pre-acquisition guidance followed political pressure
      from members of Congress, former Department officials, and thinktanks.

          60.   The Department’s initial refusal to recognize CEHE’s nonprofit status marked a

stark deviation from its prior practices. Prior to CEHE’s acquisition of the Colleges, the

Department had always deferred to the IRS’s 501(c)(3) determination, and it told CEHE during

pre-acquisition review that the Colleges, too, would be recognized as nonprofit institutions.

          61.   But following the transaction, a confederacy of for-profit critics refused to accept

CEHE’s motives and created the fiction of a “covert nonprofit.” Led by Senators, Representatives,

and former Department officials, they directed the Department to reverse its guidance and take

harsh action against CEHE.

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       62.       Those critics spent years vilifying proprietary career colleges, poisoning the label.

Under the Department’s long-standing practices, the Colleges lost that label when CEHE acquired

them as nonprofit institutions. The ideologically driven critics refused to allow CEHE to shed the

derogatory label they worked so hard to create.

       63.       So began a concerted campaign to lobby the Department to weaponize its

administrative powers to not only deny nonprofit recognition to the Colleges, but also to take

punitive actions aimed at closing the institutions.

       64.       For example, on April 27, 2015, several members of Congress wrote to the

Department, pushing their political ideology against proprietary career education and demanding

a moratorium on approving transactions where schools are purchased by nonprofit entities.

       65.       Shortly thereafter, in September 2015, former Department Deputy Undersecretary,

Robert Shireman, published an article baselessly attacking the motives of schools seeking to

convert to a nonprofit model. He similarly called for a complete moratorium on allowing schools

to become nonprofit for Title IV purposes and, specifically, encouraged the Department to delay

action on CEHE’s change-in-ownership application. In his article, Mr. Shireman referenced

conversations with the Department, which, upon information and belief, involved CEHE’s

nonprofit conversion.

       66.       In response to congressional inquiries, then-current Undersecretary Ted Mitchell

explained that the Department did not have authority to stop institutions from converting to

nonprofit status, but it made referrals to the IRS “[w]here appropriate,” for review of information

received in the change-in-ownership application process. Ex. 15 (September 9, 2015 letter from

Ted Mitchell).




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       67.     But for-profit critics continued to lobby the Department to prevent lawfully

operated nonprofit institutions from shedding their former for-profit label, notwithstanding their

compliance with IRS requirements.

       68.     In an October 22, 2015 letter, citing only Robert Shireman’s September 2015

article, several Senators, including Dick Durbin and Sherrod Brown, wrote to the Secretary and

the Commissioner of the IRS demanding investigations into CEHE and other schools based on

their nonprofit conversions.2 Without citing any evidence of wrongdoing, the Senators maliciously

called CEHE a “sham non-profit entit[y].”

       69.     These congressmen and for-profit critics mischaracterized CEHE’s conversion to

nonprofit as an attempt to avoid proprietary requirements—specifically, the 90/10 rule and newly-

announced gainful employment regulations, which were ultimately rescinded in 2019.

       70.     But CEHE began the process of merging with the Colleges nearly a year before the

Department began the gainful employment rule-making process. And those regulations did not

become effective until July 1, 2015, two-and-a-half years after CEHE acquired the colleges.

Moreover, as discussed above, CEHE demonstrated continued compliance with 90/10 four years

after the merger when the Department reversed its pre-acquisition review guidance confirming that

the Colleges would only have to meet that requirement for one year (FYE 2013). See ¶ 38, supra.

Thus, there was no reasonable basis to conclude that the Colleges merged with CEHE to avoid

proprietary requirements.




2
  The text of the Senators’ letter can be viewed at:
https://www.blumenthal.senate.gov/newsroom/press/release/blumenthal-murphy-colleagues-
urge-obama-administration-to-take-immediate-action-to-stop-for-profit-education-companies-
from-defrauding-taxpayers
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       71.     The truth is that CEHE acquired the Colleges as part of its nonprofit mission. Since

the merger, the Colleges’ revenues have been devoted to operating the Colleges and advancing

higher education in the United States. The IRS audited CEHE after the merger and made no

findings that CEHE or the Colleges violated nonprofit requirements or that the merger was part of

an effort to evade proprietary regulations.

       72.     In reality, the improper motives rested with high-level Executive federal officials

and other for-profit critics who sought to undo the Colleges’ good-faith nonprofit conversion to

ensure that CEHE would be subject to onerous regulations aimed at ultimately closing proprietary

schools.

       73.     Notably, around the time of negotiated rulemaking sessions for the gainful

employment regulations in the fall of 2013, the President’s Special Assistant for Education

publicly acknowledged that the Administration “believe[s] [it] needs to cut [for-profits] out. . . of

federal aid.” Roberto J. Rodriguez, Conference on Student Loans – Opening Plenary Session (Oct.

24, 2013). He affirmed that this was “the whole premise behind [the] regulation[s].” Id.

       74.     The timing of the Department’s actions with respect to the imposition of the

oppressive escrow requirement and sudden reversal of its nonprofit recognition evidenced the

Department’s intent to use the administrative process in bad faith to close CEHE while retaining

the improperly extracted escrow funds.

II. The Department weaponized its reimbursement payment method as a tool to cut off the
    Colleges’ funding and maximize liabilities against CEHE.

   a. The reimbursement payment method is a powerful tool because it gives the
      Department near complete control over a school’s cash flow.

       75.     The Department provides three distinct payment methods by which colleges and

universities may access Title IV funds.



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       76.     Under the first method, colleges may draw down funds from the Department before

disbursing the funds to its students. This is referred to as the advance payment method.

       77.     The second method—referred to as the just-in-time method, Heightened Cash

Monitoring 1, or just HCM1—requires colleges to disburse their own funds to eligible students

and submit related disbursement records for verification through the Department’s Common

Origination and Disbursement System (“COD”) before it can draw down Title IV funds to cover

the disbursements. This process is similar to the advance payment method. Colleges subject to the

HCM1 method may draw down funds from the Department once its document submission is

completed, without material interruption to their cash flows.

       78.     The final method is known as Heightened Cash Monitoring 2, or HCM2. Under

HCM2, colleges are required to first make disbursements to students for the amount of funds those

students are eligible to receive under Title IV by issuing a credit on a student’s account ledger.

Once disbursed, the institution must provide additional records to the Department to support the

disbursement. The Department is obligated to review these records and reimburse the institution

the amount advanced to the students and must pay the institution for all amounts that are properly

disbursed to all eligible students enrolled in eligible programs.

       79.     Prompt reimbursement from the Department is vitally important to a school on

HCM2 status. Until the Department processes an HCM2 reimbursement request, an institution on

HCM2 must continue to meet operational expenses with little to no income stream. In other words,

the Department can completely cut off a school’s funding. Under normal processing time, an

institution on HCM2 must fund at least 30 days of operations. But if the Department refuses to

promptly process HCM2 reimbursement requests, it is only a matter of time before an institution




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will be forced to close. Upon information and belief, the Department has used the HCM2 process

in bad faith to force the closure of various nonprofit institutions.

   b. After failing to close CEHE with its oppressive escrow requirement, the Department
      looked to other regulators to provide pretext to put CEHE on HCM2 status.

       80.     The Department needed a reason to put CEHE on HCM2 status, but CEHE

complied with Department requirements. Instead, the Department turned to outside authorities to

generate a pretextual basis to cut off CEHE’s funding.

       81.     To that end, the Department and other for-profit critics relied on another effective

tool used in closing proprietary career schools: pressuring accreditors of proprietary schools to

take selective and disproportionate actions to create a basis for HCM2 and other sanctions.

       82.     For example, in June 2016 (just two months before the Department denied CEHE’s

nonprofit recognition), the National Advisory Committee on Institutional Quality and Integrity

(“NACIQI”) recommended denying recognition for the Accrediting Council for Independent

Colleges and Schools (“ACICS”), which was at that time the largest accreditor of proprietary

schools. NACIQI is an independent body whose role is to make recommendations to the

Department on recognition of accreditors. Based on NACIQI’s report, then-Secretary King issued

a decision denying ACICS’s recognition. The decision was predominantly driven by ACICS’s

alleged failures to sanction proprietary schools.

       83.     In other words, the Department made it known that accreditors must heed the calls

of for-profit critics or face loss of Department recognition—an effective “death sentence” to

accreditors.

       84.     CEHE’s accreditor, ACCSC, and its executive director, Dr. Michale McComis,

were subject to substantial scrutiny for their oversight of proprietary schools. In fact, Dr. McComis

testified in a Senate hearing in August 2010, in which he faced criticism from various Senators

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about ACCSC’s accreditation of proprietary schools. Of particular focus at the hearing was

ACCSC’s oversight of Westwood College, which was under investigation by the Colorado

Attorney General (“COAG”). Following the hearing, in March 2012, Westwood entered a $4.5

million settlement agreement with COAG to resolve alleged violations of Colorado consumer

protection laws.

       85.     Against that backdrop, ACCSC and COAG worked side-by-side to push

unnecessarily costly and burdensome investigations and proceedings aimed at finding any

conceivable reason to take adverse action against CEHE and the Colleges. These actions were

precipitated by the Department’s improper influence over supposedly independent regulators to

take unnecessarily punitive action against proprietary career schools.

   c. ACCSC and Dr. McComis responded to pressure by imposing baseless and costly
      investigations.

       1. Dr. McComis imposed a campaign of disproportionately oppressive and punitive
          information requests.

       86.     Just months after Westwood’s settlement with COAG, ACCSC received a series of

anonymous smears consisting primarily of invective and missive against CEHE and its Colleges.

ACCSC referred to these submissions as “complaints,” but in reality they were nothing more than

anonymous smears aimed at disparaging the Colleges. Rather than specific allegations about actual

events, practices, or people, these anonymous smears were filled with insults such as “scummy,”

“corrupt,” and “rip-off.”

       87.     Most of the smears involved CEHE’s Good Neighbor Initiative, through which

some of CEHE’s campuses offered free tutoring to help people prepare for and pass the GED

exam. The Good Neighbor Initiative helped many people obtain a valuable credential at no cost

and without any obligation to enroll at a CEHE school. Yet in one of the smears, the author



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classified these beneficial services as “a deceptive scheme to bring people in the door to do high

pressure sales and enroll them into programs.” Another called the program a “‘scummy’ tactic to

lure students into the campus to enroll . . . [a]nother sleezy way for Mr. Carl Barney to take

advantage of the uneducated!”

       88.     The timing of the smears, and similarities in their format and content, strongly

indicated common authorship and that they were a coordinated attempt to disparage CEHE and its

Colleges. Almost all of them used the same formatting and font, and they all copied similar

oversight agencies and media sources.

       89.     To prevent such harassment and abuse of the accreditation process, ACCSC’s Rules

of Process and Procedure (“ACCSC Rules”) state that complaints should contain all relevant

names, dates, and a release from the complainant, authorizing ACCSC to forward the complaint

to the school. The ACCSC Rules also require ACCSC to reach out to the complainant if additional

information or clarification is required to process a complaint.

       90.     Despite the inherent unreliability of anonymous complaints and the strong indicia

of coordination, upon information and belief, ACCSC never attempted to substantiate any of the

allegations or to contact the authors of the smears.

       91.     Instead, Dr. McComis added legitimacy to the series of anonymous smears.

ACCSC used the weight of its authority to issue a series of disproportionately costly and

oppressive document requests, requiring CEHE to respond to each allegation.

       92.     CEHE comprehensively responded to each and every allegation and information

request to the best of its ability given the paucity of factual detail in the anonymous smears. But

ACCSC refused to close the matter and instead continued to defer action and demand numerous

reiterative responses. CEHE’s later responses asked ACCSC for consideration about the harm



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these demands were causing, pointing out the lack of verifiable facts or details corroborating the

anonymous smears. Yet each time ACCSC met to consider CEHE’s various responses, it ordered

additional requests for information without identifying any basis to assign legitimacy to any of the

anonymous allegations.

       93.        Even though none of the smears were ever substantiated, ACCSC issued a system-

wide show cause order on July 12, 2013, asking why CEHE’s accreditation should not be

withdrawn based on the allegations in the anonymous smears.

       94.        A system-wide show cause order put the existence of the Colleges at risk and was

an obviously disproportionate response to anonymous allegations that remained unsubstantiated

after substantial investigations. Upon information and belief, the show cause order was intended

to be punitive.

       95.        Ultimately, following CEHE’s submissions totaling thousands of pages of narrative

and documents, the show cause order was vacated in December 2013 and every anonymous smear

was closed without any action from ACCSC.

       96.        Worse still, throughout ACCSC’s disproportionate and burdensome investigation,

Dr. McComis fed the anonymous smears to for-profit critics in various state Attorneys General

offices and possibly to other regulatory agencies before even allowing CEHE an opportunity to

respond. In doing so, Dr. McComis often opted not to provide CEHE’s responses. His apparent

refusal to provide the thousands of pages of exculpatory evidence legitimized the anonymous

smears, which ACCSC ultimately deemed unworthy of any action.

       2. ACCSC and Dr. McComis refused to accept accountability for the harm caused
          by its disproportionate response to anonymous complaints.

       97.        In responding to the show cause order, CEHE was critical of ACCSC’s handling of

anonymous smears and efforts to disparage CEHE to other regulators. CEHE was deeply

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concerned that ACCSC accepted unsubstantiated anonymous smears at face value against a

member institution and used them to force oppressive document requests and instigate government

investigations. CEHE’s criticism of Dr. McComis’s handling of the anonymous smears, which

were all dismissed without any findings, created conflict and animus that permeated Dr.

McComis’s treatment of the Colleges.

        98.    That animus continued after CEHE’s then-Chairman, Carl Barney, filed a formal

complaint against ACCSC, its staff, and Commissioners for violating ACCSC’s Standards of

Accreditation regarding the handling of and processing of complaints and Department regulations

requiring fair and equitable review of complaints. But ACCSC dismissed the complaint, ignoring

the regulatory requirements that accreditors review complaints in a “timely, fair, and equitable

manner.” 34 CFR 602.23(c)(1). Instead, ACCSC asserted it had unfettered discretion to investigate

complaints without respect to the reliability of the allegations or the financial and operational

burden imposed on the school.

        99.    But that is a false and dangerous assertion of authority. Department regulations

require accreditors to review complaints in a “timely, fair, and equitable manner.” 34 CFR

602.23(c)(1). ACCSC violated those requirements by refusing to consider the massive financial

and operational burdens caused by its investigations.

        3. Over the next three years, ACCSC continued to heavily scrutinize CEHE’s
           advertising, recruiting, and outcome reporting processes.

        100.   Even though CEHE had demonstrated that every anonymous smear was meritless

and part of a coordinated campaign to disparage the school, ACCSC continued to legitimatize

them.

        101.   ACCSC placed CEHE’s colleges on advertising and outcomes reporting, requiring

detailed reviews of CEHE’s marketing, outcomes, and reporting practices.

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       102.     Throughout the reporting process, CEHE provided all requested information to

ACCSC. When ACCSC identified any concerns with CEHE’s practices, CEHE resolved them to

ACCSC’s satisfaction through the accreditation process. Often, these findings were highly

subjective. Nevertheless, CEHE deferred to ACCSC’s authority and made requested modifications

as necessary.

    d. Olivia DeBlasio Webster, then an assistant AG in the COAG’s office, coordinated
       with ACCSC to bring an eight-year assault on CEHE’s Colorado schools based on
       legal and widely used advertising practices.3

       1. Fueled with the anonymous smears forwarded by ACCSC, Ms. Webster launched
          her own duplicative investigation into CEHE’s marketing and recruiting
          practices.

       103.     Ms. Webster was an Assistant Attorney General in COAG’s office. She had

previously targeted career colleges and other proprietary schools. In the summer of 2012, she

found an ally in Dr. McComis, who had already begun his campaign of punitive document requests

against CEHE.

       104.     After speaking with Dr. McComis the week prior, COAG’s office sent ACCSC a

letter requesting materials related to CEHE’s Colorado-based schools. Without notifying CEHE,

ACCSC responded and forwarded all of the anonymous smears, including communications

regarding Colleges outside Colorado, before CEHE had an opportunity to respond. In doing so,

ACCSC added legitimacy to the apparently coordinated anonymous allegations.

       105.     Instead of engaging in reasonable dialogue to resolve the obviously coordinated

and unfounded smears, Webster served two subpoenas in December 2012 and September 2013,

consisting of a combined ninety document requests, relating to nearly every aspect of CEHE’s



3
 In December 2021, Student Defense, a so-called non-partisan student advocacy organization
hired Ms. Webster as senior counsel. Student Defense has been a leading critic of for-profit
education since its inception in 2017.
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admissions, financial aid, advertising, and recruiting practices. Over the course of approximately

15 months, CEHE produced over 46,000 pages of documents. COAG also took testimony at 20

civil investigative hearings.

       106.    Just as with ACCSC, CEHE was fully transparent and cooperated with COAG’s

investigation in good faith.

       2. COAG sought preliminary injunctions against CEHE’s Colorado schools, which
          were denied.

       107.    After two years of investigation, COAG tried to persuade CEHE to enter into a

settlement agreement requiring a substantial payment. But CEHE believed it had done nothing

wrong and refused to settle. So, in December 2014 COAG initiated a lawsuit alleging violations

of Colorado’s Consumer Protection Act (“CCPA”) and the Colorado Uniform Consumer Credit

Code, claiming that CEHE’s marketing and advertising practices misled students.4

       108.    COAG’s case focused primarily on CEHE’s use of federal wage data from the

Bureau of Labor Statistics (“BLS”). But the Department expressly condoned the use of national

wage data in advertisements and consumer-facing materials for the time period at issue in the

Colorado litigation (December 2009 to October 2017). In 2010, the Department confirmed that

accurate use of government data—like BLS statistics—was not misleading. 75 Fed. Reg. 66832,

66919 (Oct. 29, 2010). The Department again confirmed in 2014 that it was reasonable for

institutions to use BLS data for “consumer information purposes.” 79 Fed. Reg. 64889, 64942

(Oct. 31, 2014). And, more recently, the Department recognized that “BLS data is helpful because

a student is generally interested in earnings over the course of a career, and not just a few years

after completion of the program.” 84 Fed. Reg. 49788, 49810 (Sept. 23, 2019). CEHE, like



4
 That case, brought in the District Court for the City and County of Denver, was captioned State
of Colorado, et. al v. Center for Excellence in Higher Education, et al., Case No. 14CV34530.
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hundreds of other nonprofit, public, and proprietary institutions, relied on the Department’s

repeated acknowledgement that schools using BLS statistics were safe from misrepresentation

claims.

          109.    At the outset of the litigation, COAG sought 21 preliminary injunctions. After a

five-day hearing, the court denied all 21. The judge who presided over that preceding found that

CEHE’s admissions practices were designed to provide detailed disclosures and prevent

misinformation. Moreover, at the hearing he recognized that the Colleges had “a place in our

community” and commented that he detected a “bias against these types of schools as opposed to

traditional schools.” Ex. 16 (Excerpts from May 8, 2015 hearing on Motion for Preliminary

Injunctions).

          3. Dr. McComis undermined CEHE’s attempt to resolve the litigation following the
             favorable preliminary injunction rulings.

          110.    After the ruling on the preliminary injunctions, CEHE met with the Colorado

Attorney General, Cynthia Coffman, in an effort to resolve the pending claims.

          111.    But Dr. McComis had written a misleading and inflammatory letter to CEHE,

which he had shared with the Colorado Attorney General. In that letter, Dr. McComis

disingenuously represented the history of anonymous smears to portray them as ongoing

compliance issues.

          112.    Dr. McComis revealed his bias and hostility towards CEHE when he gave the letter

to the Colorado Attorney General without explaining that CEHE had responded to each and every

allegation raised in the anonymous smears and that every single one was dismissed without any

adverse action.




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       113.     CEHE’s Member and Chairman, Carl Barney, sent the letter to several other

ACCSC school owners and leaders, who also wrote letters to Dr. McComis expressing their

concerns over his efforts to spur the Colorado litigation.

       114.     Throughout the litigation, COAG misrepresented ACCSC’s oversight of CEHE’s

marketing and recruiting practices, claiming that CEHE improperly evaded ACCSC oversight. In

fact, ACCSC closely and contemporaneously monitored CEHE’s advertising, admissions, and

outcomes reporting practices and took no action against any of CEHE’s schools. Dr. McComis

observed COAG’s misrepresentations of ACCSC oversight practices and characterization of

actions ACCSC might have taken, yet he never sought to correct the gross errors in COAG’s legal

theories.

       4. COAG proceeds to trial under newly assigned Judge Ross Buchanan.

       115.     Emboldened by Dr. McComis’s disingenuous characterizations of the anonymous

smears, COAG litigated its claims in a four-week trial in late 2017.

       116.     Notably, after years of investigation, including 20 civil investigative hearings, and

a trial involving 366 exhibits and 48 witnesses, COAG provided no evidence of consumer

confusion related to CEHE’s advertisements. On the contrary, one of COAG’s student witnesses

testified that he understood the BLS data represented national averages for the program in which

he enrolled and that it did not represent CEHE-specific wage data.5




5
 Notably, COAG relied heavily on expert testimony from Rohit Chopra to establish that
CEHE’s advertisements were misleading. Mr. Chopra was the student-loan ombudsman at the
Consumer Financial Protection Bureau and has been a leading opponent of proprietary career
education.
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       5. Judge Buchanan’s nearly three-year delay in issuing an opinion led to gross legal
          and procedural errors.

       117.    Judge Buchanan was dilatory in his consideration of the case and delayed issuing a

ruling for almost three years.

       118.    CEHE eventually filed complaints with the Colorado Commission on Judicial

Discipline (“CCJD”) expressing concern over the extreme delay. In response to the complaints,

CCJD twice admonished Judge Buchanan for his delay and eventually set a hearing to consider

appropriate action. On the eve of the August 21, 2021 hearing, at 4:46 a.m., Judge Buchanan

finally issued his opinion.

       119.    What is more, Judge Buchanan’s opinion copied nearly word-for-word COAG’s

proposed findings of fact, including typos. Those proposed findings of fact obviously reflect the

State’s preferred assessment of its own case, not an objective and impartial view.

       120.    As a result, Judge Buchanan adopted plainly erroneous legal arguments and ignored

critical evidence regarding the Department’s own policies regarding use of BLS data. For example,

Judge Buchanan imposed personal liability on CEHE’s CEO for alleged misrepresentations that

occurred before he was employed by CEHE. Nor did Judge Buchanan credit the fact that ACCSC

reviewed the advertising, enrollment, and employment reporting practices at issue and found no

wrongdoing. These errors would have been readily apparent had Judge Buchanan actually

considered the trial record instead of copying, nearly verbatim, COAG’s proposed findings.

       6. The Colorado Court of Appeals vindicated CEHE in reversing and remanding
          Judge Buchanan’s erroneous findings.

       121.    CEHE appealed Judge Buchanan’s decision to the Colorado Court of Appeals.

       122.    The Court of Appeals found that COAG failed to prove any violation of consumer

protection laws. Specifically, the court concluded that there was no evidence that CEHE’s



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advertising practices actually misled any students. The court vacated the CCPA findings and

remanded the matter for a new trial.

           123.   Moreover, the court took the extraordinary measure of removing Judge Buchanan

from the case based, in part, on his inexplicable delay and misconduct in copying COAG’s findings

of fact.

           124.   The COAG appealed the Colorado Court of Appeals’ decision to the Colorado

Supreme Court, where the matter is currently under review. CEHE remains confident in the

Colorado judiciary as the Supreme Court considers the well-reasoned opinion of the Colorado

Court of Appeals.

    e. Following Judge Buchanan’s erroneous ruling, for-profit critics mobilized to close
       CEHE based on the Colorado verdict.

           125.   Unfortunately for CEHE, Judge Buchanan’s obviously deficient decision provided

all the pretext the for-profit critics (inside and outside of the Department) needed to fulfill their

goal of closing the Colleges by any means necessary. Even though CEHE timely sought appeal of

the decision, which was ultimately successful, for-profit critics immediately called for the

Department to take immediate action to cut off CEHE’s funding. From that point on, the

Department and ACCSC (under pressure from the Department) both worked to close CEHE and

the Colleges.




           1. Despite Judge Buchanan’s decision being marred by procedural deficiencies and
              obvious factual and legal errors, members of Congress and think tanks demanded
              CEHE’s closure before it had an opportunity to appeal.




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        126.    As soon as Judge Buchanan issued his verdict, for-profit critics mobilized to lobby

the Department to take immediate action to close the Colleges, notwithstanding the pendency of

CEHE’s expedited appeal.

        127.    For example, in October 2020, a self-identified leading critic of proprietary career

education, David Halperin, sent a letter to the Department demanding immediate cessation of Title

IV funding to CEHE’s colleges.

        128.    One month later, Senator Dick Durbin sent a letter to the Department demanding

that CEHE be barred from Title IV funding without waiting for the appeal and conclusion of the

COAG litigation. He accused the Department of “failing in [its] responsibility [by] allow[ing]

CEHE to continue to defraud students and Mr. Barney and [CEHE’s CEO] to line their pockets

with taxpayer money during a lengthy appeal process.” Notably, that “lengthy appeals process”

resulted in reversal of the verdict. Ex. 17 at 2.

        129.    For-profit critics were also pressuring ACCSC to take premature action against

CEHE. ACCSC’s application for continued recognition by the Department was scheduled for

consideration at NACIQI’s July 2021 meeting. At that time, leading for-profit critic Robert

Shireman served on NACIQI’s committee, and he had already written articles critical of CEHE

and the Colleges, as noted above. See, e.g., ¶ 65, supra. For-profit critics at NACIQI and the

Department had already acted to close ACICS based on its oversight of proprietary schools, and

they had made it clear that ACCSC’s recognition was in jeopardy if it did not mirror the

Department’s ideological agenda against career colleges.

        130.    Moreover, the marketing, admissions, and reporting practices at the center of Judge

Buchanan’s later-vacated decision were the same as those ACCSC closely monitored following




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the series of anonymous smears and show cause order. As discussed above, ACCSC found no

cause to take adverse action based on those practices.

       131.    In a transparent attempt to deflect criticism in light of the upcoming NACIQI

meeting, and in a letter dated October 26, 2020, ACCSC threatened to withdraw CEHE’s

accreditation based on Judge Buchanan’s findings.

       132.    In a January 22, 2021 letter, CEHE addressed each of ACCSC’s stated concerns

and included documentation of each instance where CEHE contemporaneously informed ACCSC

of the advertising, recruiting, and reporting practices at issue and each instance where ACCSC

accepted (and often commended) CEHE for those same practices.

       2. Unable to close CEHE based on Judge Buchanan’s findings, ACCSC
          manufactured a withdrawal action based on findings it knew had already been
          addressed through an approved corrective action plan.

       133.    ACCSC could not reasonably dispute that CEHE’s practices, found problematic by

Judge Buchanan, complied with ACCSC Standards.

       134.    Instead, just a month later at its February 2021 meeting, ACCSC suddenly acted to

withdraw CEHE’s accreditation on the pretextual basis that CEHE’s online college, IU, was

incapable of producing sufficient graduation and employment outcomes. Those findings are

pretextual in that ACCSC confirmed in prior communications that CEHE had already implemented

a corrective action plan, which ACCSC had approved, and demonstrated that current students were

progressing through their programs and were on track to find employment at acceptable rates.

       135.    The withdrawal decision followed a two-year period of substantial reorganization

and investment in the Colleges. In September 2018, ACCSC concluded that several of the

Colleges were out of compliance with multiple ACCSC Standards, including those involving

student graduation and employment rates, and placed CEHE on probationary status.



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       136.    At that time CEHE had already begun substantial efforts to identify the root causes

of, and solutions for, the issues leading to probation. Those efforts involved a plan to close all but

one of CEHE’s traditional ground-based schools in order to focus its efforts on its online programs,

offered through IU.

       137.    Both ACCSC and CEHE understood that it would take several years for CEHE to

report above-benchmark graduation rates. That is because CEHE offered primarily 20- to 36-

month degree programs. A reporting cohort does not become reportable until one-and-a-half times

the length of the program. Thus, if a cohort started today, CEHE would not know if that cohort

graduated at benchmark rates for 30 to 54 months, depending on the program. For reference, most

ACCSC member schools offer short-term degree programs, which can be completed in a matter

of months and are often reportable within a year. CEHE’s programs were more substantial,

consistent with traditional college programs.

       138.    CEHE’s shift to primarily online programs also presented challenges to meeting

ACCSC outcomes requirements. Due to the lack of in-person interaction and social engagements,

fully online programs tend to have difficulty retaining students through the completion of their

programs. Leading online universities often report graduation rates that are substantially below

the ACCSC benchmark, which, for CEHE’s 24- to 36-month degrees programs, is 40 percent.6

Those schools’ accreditors do not have standards that require online programs to meet graduation

benchmarks more appropriate for traditional ground-based programs. Conversely, ACCSC does

not have separate Standards for online institutions.



6
 For example, Purdue University Global’s eight-year graduation rate is 30%, Maryland Global
Campus’s is 28%, and Liberty University’s is 34%.
https://collegescorecard.ed.gov/school/?489779-Purdue-University-Global,
https://collegescorecard.ed.gov/school/?163204-University-of-Maryland-Global-Campus,
https://collegescorecard.ed.gov/school/?232557-Liberty-University.
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       139.    As part of its shift to a fully online model, CEHE devoted roughly $10 million to

study and implement effective initiatives to improve student outcomes. Over its two-year

probationary period, CEHE consistently updated ACCSC about the status of those initiatives, and

ACCSC consistently acknowledged and commended those efforts. In a July 21, 2020 Continued

Probation letter—the last review of CEHE’s efforts before it abruptly withdrew accreditation—

ACCSC recognized the breadth of CEHE’s recently implemented initiatives to improve graduation

rates and acknowledged that CEHE’s online programs would not report benchmark graduation

rates for several years. Accordingly, it gave CEHE until May 2021 to show that its efforts were

capable of producing benchmark outcomes. ACCSC was clear that progress would be measured

based on the success of the recently enrolled cohorts, who were the first to receive the benefits of

the new initiatives.

       140.    In its subsequent December 20, 2020 response, CEHE provided ACCSC updated

projections for its most recently enrolled cohorts, which showed that CEHE’s efforts had

succeeded. The recently enrolled cohorts were on track to meet or exceed benchmark rates. This

was a tremendous achievement for an institution that offered 100% online programs.

       141.    But at its February 2021 meeting, ACCSC prematurely withdrew CEHE’s

accreditation. Had ACCSC allowed CEHE until May 2021 to show continued improvement (as

previously promised), CEHE would have shown that most programs tracked to meet benchmarks

ahead of the projections set forth in the December 20, 2020 Response. The precipitous withdrawal

decision, which was published on April 22, 2021, was based entirely on older cohorts, which

ACCSC always knew would not graduate at benchmark rates. That change in position contradicted

its prior acknowledgments that progress would be measured based on the most recently enrolled




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cohorts. Thus, it appears ACCSC’s premature decision was an effort to prevent CEHE from further

demonstrating progress.

         142.   CEHE subsequently learned from limited, publicly available ACCSC accreditation

decisions that other schools were permitted to remain accredited even though they failed to meet

student achievement benchmarks in all of their programs. Moreover, those decisions noted the

institutions’ failures to demonstrate any ability to resolve the underlying issues. ACCSC’s

treatment of those schools stood in stark contrast to treatment of IU, which demonstrated that all

of its programs were projected to meet or exceed benchmarks.

         143.   Moreover, around the time of the withdrawal, ACCSC announced that it would

offer relief from strict enforcement of student achievement Standards in the wake of the COVID-

19 pandemic. ACCSC noted that its Standards “contemplate [the] very notion” that COVID-19 is

an “external or mitigating factor[]” that would be taken into consideration in assessing an

institution’s compliance with achievement Standards.7 But where ACCSC offered relief to other

institutions, it offered none to CEHE. In fact, ACCSC cut CEHE’s demonstrably successful efforts

short in the middle of the pandemic.

         144.   ACCSC compounded its due process failures when Dr. McComis blocked CEHE

from producing any evidence of disparate treatment during the internal ACCSC appeals process.

To maintain federal recognition, accreditors must have “effective controls against the inconsistent

application of [their] standards.” 34 C.F.R. § 602.18(b). CEHE asked Dr. McComis to provide

redacted records evidencing its treatment of other institutions with similar outcomes issues and

institutions who sought relief from ACCSC enforcement due to the effects of the COVID-19

pandemic.



7
    https://www.accsc.org/UploadedDocuments/1956/COVID-19-QandA.pdf (Pg. 20 of 22)
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       145.    However, Dr. McComis refused to provide any such records, citing confidentiality

concerns of other schools. That response ignored the fact that CEHE specifically requested

redacted records specifically to alleviate any confidentiality concerns.

       146.    Thus, Dr. McComis ensured that the appeals process only included records

supportive of ACCSC and excluded records that may have demonstrated that CEHE was singled

out to appease NACIQI, the Department, and other for-profit critics.

       147.    ACCSC’s withdrawal decision appeared to be a calculated attempt at self-

preservation in advance of the NACIQI meeting at the expense of the due process and fundamental

fairness requirements to which CEHE was entitled.

   f. The Department used the withdrawal decision in bad faith as a basis to cut off all
      funding to CEHE and force closure.

       148.    After years of defending itself against improperly motivated investigations,

politically driven enforcement efforts, and constant attack from for-profit critics, CEHE had no

alternative but to start the process of closing the Colleges and begin exploring other ways of

tackling the problems facing higher education. It stopped enrolling students on April 22, 2021.

       149.    CEHE was committed to its students and sought to ensure that the closure would

not disrupt the completion of their programs. Accordingly, CEHE began the process of teaching

out its remaining students and identifying other universities to serve as “teach-out” partners that

could help students complete their programs without additional time or cost to the students.

       150.    But the Department prevented CEHE from an orderly closure by withholding

critical Title IV funding through the HCM2 process and by undermining CEHE’s efforts to find

teach-out partners. Upon information and belief, the Department did not just want CEHE to close,

it wanted to impose the maximum possible liabilities by forcing a precipitous closure. Under

Department regulations, when a school closes, currently enrolled students and students who

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withdraw within a certain period before the closure (generally, 120 to 180 days prior) become

eligible for full discharges of their federal loans (“closed-school discharges”). 34 C.F.R. 685.214.

As the Department reads its regulations, it can then seek full reimbursement for those discharges

from the closed school. Upon information and belief, forcing maximum closed-school discharges

against proprietary schools was a primary component of the Department’s “targeted loan

forgiveness” goals.

       151.    Before CEHE had an opportunity to appeal the ACCSC withdrawal decision, the

Department sent SHC and CCSD letters on April 28, 2021 advising both institutions that they were

placed on HCM2, pursuant to 34 CFR § 668.162(d), effective April 23, 2021. (“HCM2 letters”).

Ex. 18 and 19. They explained that the action was taken because ACCSC had withdrawn SHC’s

and CCSD’s accreditation. Ex. 18 at 1; Ex. 19 at 1.

       152.    Both HCM2 letters were eleven pages total. Pages 4 through 11 were instructions

for obtaining funds under HCM2 (“Instructions”). Also included with the HCM2 letters were a

sample Student Data Spreadsheet for use in preparing and submitting HCM2 payment claims as

well as a Claim Processing User Guide for Schools (“Guide”).

       153.    The Instructions indicate that an institution of higher education “must demonstrate

that it properly determined, awarded, and used its own funds to make disbursements under [Title

IV] programs to eligible students who are enrolled in and are attending eligible programs. When

the institution has demonstrated that it has expended these funds in accordance with Title IV

requirements, [DOE] will reimburse the institution…” Id. at 4. (emphasis added).

       154.     The Instructions also set the documentation requirements for reimbursement,

including, but not limited to: student Social Security Numbers, street addresses, telephone

numbers, instructional programs, enrollment status, admission criteria used for enrollment, credit



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hours, start dates, cost of attendance, expected family contributions, certification of satisfactory

academic progress, grade point averages, award amount requested, as well as records

demonstrating students were eligible to receive Title IV awards, that the awards were properly

calculated, and the institutions disbursed the awards. Id. at 6-7.

       155.    The HCM2 Notice letters repeated and confirmed the Department’s obligation. In

those letters, the Department promised: “Under the HCM2 method of payment, [CEHE] may

continue to obligate funds under the federal student financial assistance programs…[CEHE] may

disburse institutional funds to eligible students. If [CEHE] disburses institutional funds, [DOE]

will reimburse it for properly documented expenditures.” (emphasis added). Id. at 1.

       156.    By operation of being placed on HCM2, the Colleges could no longer draw down

funds after making disbursements on behalf of students. Instead, the Colleges were required to

submit a payment request to the Department through its COD system and wait for approval for

payment.

       157.    The Colleges were required to upload specified documentation to the COD system

to establish that the students included in the request were eligible and received the funds for which

reimbursement was requested. The submissions included student files the Department selected for

its quality control sampling purposes. 34 C.F.R. § 668.162(d)(2).

       158.    The Department’s April 28, 2021, HCM2 notice letters confirmed that the normal

processing time for a reimbursement request is “thirty (30) days from the date the claim is

received.” Ex. 18 at 10; Ex. 19 at 10.

       159.    As it turned out, however, CEHE had to fund its cash flow for considerably longer

than 30 days without reimbursement from the Department.




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       160.    Among the costs CEHE had to front while on HCM2 were refunds of CEHE’s own

money to the Department. The HCM2 Instructions provided to CEHE required the institution to

pay such refunds—often called return to Title IV payments or simply R2T4 payments. Ex. 18 at

9; Ex. 19 at 9. When the Department awards Title IV funds to a student, it is with the assumption

that the student will attend his/her program for the entire period for which assistance is awarded.

When a student ceases attendance prior to the planned ending date, the student may not be eligible

for the full amount of Title IV funds the student received. In such instances, the institution is

required to return to the Department the “unearned” portion of the funds award for that period. In

this case, the Department required CEHE to pay the R2T4 refunds even though it never received

the money in the first instance. Simply put, CEHE had to return to the Department federal funds it

never received (“Phantom Refunds”).

       161.    Between April 28, 2021 and August 1, 2021, CEHE expended $43,185,396 to

maintain operations. Over the same period, CEHE spent an additional $3,157,813 returning money

to the Department in Phantom Refunds.

       162.    To address the financial pressure HCM2 imposed, CEHE made substantial efforts

to create a new operational and cash flow plan, including negotiating forbearances and deferrals

with its landlords and creditors. Even then, CEHE’s cash flow projections showed it running out

of cash by the week of July 25, 2021, without reimbursement from the Department.

       163.    Given these projections, CEHE worked diligently to provide the Department with

all documents required in the HCM2 Notices, and it promptly responded to any additional

document requests from the Department.




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       164.     But contrary to the Department’s regulations and express representations in the

HCM2 Notices, the Department never reimbursed CEHE for any of its HCM2 reimbursement

requests.

       165.     Indeed, CEHE almost immediately began encountering error messages and other

indications of issues preventing it from uploading its HCM2 reimbursement claim submission for

SHC through the COD system.

       166.     Despite numerous communications with Department staff about the problems with

the COD system preventing CEHE’s submissions, the Department did not admit until June 17,

2021 that its COD system had technical issues causing the system to reject HCM2 submissions for

SHC. By that date, CEHE had been trying for 29 days, since May 19, to upload its first HCM2

submission for SHC.

       167.     CEHE first asked the Department to allow it to submit the HCM2 request for

SHC/IU via an alternative method soon after its first effort on May 19. Exhibit 20 includes a June

1, 2021 7:57 a.m. email from CEHE’s Director of Financial Aid asking whether there was any

“any other option to submit up a claim other than COD? ... I want to make sure there is no other

route to submit a claim.” Ex. 20 at 44 (Emails between CEHE and DOE re: SHC HCM2

submissions).

       168.     It was not until June 17, 2021, that the Department finally instructed the Colleges

to submit SHC HCM2 requests for payment by sending the information directly to the Multi-

Regional and Foreign Schools Participation Division (“MRFSPD”) using a secure portal as an

alternative to submitting the claim through the COD system. Ex. 20 at 71.

       169.     CEHE submitted two HCM2 payment claims seeking reimbursement for funds

SHC disbursed to students. The first HCM2 payment claim (Claim No. 4446) was submitted in



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the amount of $16,513,575.24 and the second (Claim No. 4669) was submitted in the amount of

$12,700,056.63.

       170.    CEHE also submitted, without encountering any technical issues in the COD

system, a single HCM2 payment claim for CCSD on May 25, 2021, in the amount of $82,737. The

COD system processed this submission and assigned it Claim No. 4485.

       171.    CEHE requested but never received from the Department an explanation for why

the COD system accepted the CCSD payment claim but not the two SHC payment claims.

       172.    Upon information and belief, CEHE was the only institution on the HCM2

disbursement method that was unable to submit reimbursement claims via the COD system in May

and June 2021.

       173.    Guidance provided by the Department, including in its Federal Student Aid

Handbook, confirms that when the Department determines from reviewing an HCM2 submission

that a school has correctly paid all its students, the Department will approve the request. But even

if the submission contains errors, the submission “will be approved for those disbursements which

had no mistakes.” U.S. Dept. of Educ., Federal Student Aid Handbook, Vol. 4, Ch. 4 at 4-15

(August 2020); 34 C.F.R. 668.162(d).

       174.    Despite this guidance, the Department never paid any portion of the HCM2

payment claims CEHE submitted.

       175.    Moreover, the Department instructed CEHE not to submit additional HCM2 claims

until the initial submissions were reviewed, approved, and paid. As a result, CEHE could not

submit additional HCM2 claims totaling $9,680,513 for SHC and $135,030 for CCSD.

       176.    In total, CEHE disbursed $43,185,396 with the good-faith expectation that the

Department would reimburse CEHE and that it would do so within a reasonable timeframe.



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       177.    But upon information and belief, the Department never intended to reimburse

CEHE for the Title IV disbursements CEHE advanced to students on behalf of the Department.

This belief is evidence by the Department’s delays in responding to and resolving technical issues

that prevented CEHE from submitting its claims through the COD system, imposing burdensome

document requests that were irrelevant to the reimbursement claims at issue, and failure to timely

review documentation CEHE submitted.

       178.    Aware that it could not continue to operate indefinitely without timely

reimbursement from the Department for funds it had disbursed to students, CEHE developed a

Teach-Out Plan outlining the steps necessary to enable CEHE’s students to complete their

programs.

       179.    CEHE’s Teach-Out Plan included written agreements between SHC/IU and two

regionally accredited universities that participated in Title IV programs. Those agreements would

have allowed for most of SHC/IU’s students to transfer and complete their programs. Under the

agreements, the cost to complete the program would have been the same as if the students had

completed their program at SHC/IU.

       180.    To be effective, the agreements required SHC/IU to remain open and provide

instruction through August 1, 2021. After August 1, SHC/IU would be required to provide

transition services until August 18, 2021. These services related primarily to efforts facilitating the

transfer of students from SHC/IU to the two universities.

       181.    However, the Department refused to approve the teach-out agreements. In fact, the

Department simply ignored CEHE’s request for approval without providing any feedback or basis

for withholding consideration. Rather than work with CEHE to ensure that students could complete

their programs, Federal Student Aid Chief Operating Officer Richard Cordray instead used social



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media to actively encourage students not to complete their education and instead seek loan

discharges at the expense of CEHE and taxpayers

       182.    On July 22, 2021, CEHE notified the Department that it would be unable to meet

its ongoing expenses if the Department did not process the reimbursement requests or release a

portion of the escrow funds. Exhibit 21. One of the express purposes of the Escrow Agreement is

to fund an orderly teach-out before closure. Ex. 3 at 2; Ex. 9 at 4.

       183.    At that time, the Department held over $20 million to which CEHE had an

unequivocal right under the Escrow Agreement. CEHE only asked for a small portion of that

money to ensure that CEHE could meet its obligations under the PPA to provide educational

services to students and to make sure that they could complete their programs or find alternatives

through a teach out agreement with another school. That was vitally important because many of

CEHE’s students relied on Title IV funds to pay for not only their tuition, but also rent, food,

childcare, transportation, and other living expenses while they worked towards their degrees.

       184.    But instead of working with CEHE in good faith to ensure an orderly closure that

would minimize student hardship, on July 26, 2021 the Department notified CEHE that it was

denying all HCM2 reimbursement requests.

       185.    The Department rejected the claim submissions, in total, because CEHE’s

supporting documentation accompanying its reimbursement request did not include certain

documentation that was irrelevant to whether disbursements to students were appropriate. By way

of example, the Department cited CEHE’s failure to produce student attendance records, not

simply for the term in which the disbursements were made, but for the student’s entire enrollment,

including past terms for which the Department had previously disbursed funds to the student. The

Department’s regulations are clear that the CEHE only had to provide documentation showing



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each student included in the request was “[e]ligible to receive and has received the title IV, HEA

program funds for which reimbursement is sought.” 34 C.F.R. § 668.162(c)(3) (emphasis

added).

          186.   The Department later clarified in a July 28, 2021 email that “[t]he documentation

included with the rejected HCM2 claim did not show that the student was in attendance to confirm

participation in an academically-related activity in conjunction with the exact time spent in class

each day for all courses within the term.” Ex. 22.

          187.   The HCM2 instructions stated that the Department would consult with CEHE,

during the submission process, regarding the scope of the required attendance documentation.

          188.   The Department’s requirement exceeded its authority in at least two ways. First, as

noted above, there is no requirement that attendance records must cover the entire enrollment for

each student. Second, the requirement to provide records to track “the exact time spent in class

each day for all courses in a term” is not appropriate for a credit-hour, i.e., non-clock hour school

like IU or CCSD. Thus, the non-payment of CEHE’s prior HCM2 reimbursement claims on the

basis of the attendance records indicates the Department’s desire to manufacture pretext to deny

CEHE’s reimbursement requests.

          189.   After depleting its cash reserves and following the Department’s rejection of the

reimbursement claims, CEHE could no longer continue to operate the Colleges. CEHE announced

the closure of SHC/IU and CCSD on August 1, 2021.

          190.   Nearly 10,000 students had to discontinue their educational programs and over

1,000 employees were laid off. Many students immediately lost access to critical funding that they

relied on for basic living expenses. That could have been avoided if DOE had not intentionally

acted to close the schools.



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       191.    Upon information and belief, the Department never intended to reimburse CEHE

for the Title IV disbursements it advanced to students and the Department’s stated reasons for

rejecting CEHE’s submissions were mere pretexts to close the Colleges.

       192.     Indeed, while CEHE made efforts to resubmit its claims with the additional

documentation the Department had referenced in its rejection letter, the Department deleted all

claim information CEHE had previously uploaded into the COD system, forcing CEHE to restart

the submission process from the beginning, which involved many hours of manual data entry. In

short, CEHE would have to re-create supporting records and documentation that had taken months

to upload into the COD system, but this time after closing the Colleges, after depleting its cash

reserves, and without an adequate income stream. Later, during an August 25, 2021 telephone call,

the COD School Relations Center informed CEHE’s staff that it was not the Department’s normal

process to delete records.

       193.    The Department also obstructed CEHE’s resubmission in other ways beyond

deleting its supporting claim information. It terminated CEHE’s access to the COD system, which

took weeks to restore. The Department also informed CEHE that technical constraints with its

COD system prevented submission of large batch claims. So CEHE would have to manually re-

enter those records, involving thousands of students, which the Department had deleted.

       194.    Finally, during a September 14, 2021 telephone call between CEHE staff and the

Department, an employee of the Department recognized that the need to re-create and re-submit

records in the COD system would impose substantial burdens on CEHE as it would have to

reconcile its substantial records within the COD system. Although the employee proposed to his

supervisors that the Department could assist CEHE with the re-submission of its deleted records




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to avoid those reconciliation problems, the Department flatly refused. The employee also

expressed surprise that the Department deleted the records from the initial submissions.

       195.    This combination of factors prevented CEHE from resubmitting its claim for

HCM2 reimbursement with additional supporting documentation. In any event, resubmitting the

claims was futile. The Department apparently had no intention of reimbursing CEHE for funds it

properly disbursed even with the additional documentation.

       196.    Beyond the technical constraints the Department imposed, the Department

informed CEHE by letter on August 4, 2021 that it would not release any HCM2 funds until all

potential liabilities, including closed-school discharges incurred because CEHE was forced to

close, had been calculated, a process the Department anticipated would take up to three years to

complete. Ex. 23 at 3-5.

       197.    The Department’s actions were the culmination of a playbook designed to force

CEHE’s precipitous closure and pave the way to impose massive closed-school discharge

liabilities in the future. As a federal agency, the Department must act in good faith when dealing

with Title IV participants. However, in recent years the Department has run off the rails and

exercised its authority in bad faith to destroy career education in America, contrary to the will of

Congress. It had demanded that accreditors take harsh and unnecessarily punitive actions against

career schools, and it has abused its financial responsibility and HCM2 processes to disrupt

operations and force closure.

                    Count I – Breach of Contract (PPA and HCM2 letters)

       198.    Paragraphs 1 through 197 are fully incorporated as if fully stated herein.

       199.    The PPAs are valid and enforceable contracts.




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       200.    The PPAs incorporates all Title IV regulations, including the requirement to

reimburse HCM2 funds upon proof of student eligibility for the advanced funds.

       201.    The HCM2 letters are also valid and enforceable contracts, which expressly

provided that, if CEHE disbursed funds to students on the Department’s behalf, the Department

would reimburse CEHE for those funds upon proof of student eligibility for the advanced funds.

       202.    CEHE advanced funds to students and subsequently provided sufficient proof of

student eligibility, and the Department was bound to reimburse CEHE for those funds.

       203.    The Department breached the PPA and the HCM2 letters by wrongfully and

intentionally withholding HCM2 funds without a legitimate basis.

       204.    The Department holds approximately $43,185,396 million dollars in funds that it

was obligated to pay CEHE as reimbursement for Title IV funds disbursed to students on the

Department’s behalf.

       205.    The Department knew or should have known its actions would cause CEHE to

close. CEHE notified the Department that it needed the Department to release HCM2 or escrow

funds to keep the school operational until closure. The Department also knows that cutting off

Title IV funding will lead to closure.

       206.    The Department’s breach of contract resulted in CEHE suffering substantial

damages including, but not limited to, the amount of the withheld HCM2 funds, interest, and lost

revenues CEHE would have earned had it not been forced by the Department to close.

              Count II – Breach of Contract (duty of good faith and fair dealing)

       207.    Paragraphs 1 through 206 are fully incorporated as if fully restated herein.

       208.    The PPAs are valid and enforceable contracts.

       209.    The HCM2 letters are valid and enforceable contracts.



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        210.    All government contracts contain an implied covenant of good faith and fair

dealing.

        211.    The Department sought to deny CEHE the benefit of the PPAs and the HCM2

letters by acting in bad faith to take actions that would cause CEHE and its Colleges to close.

        212.    Among other things, the Department knowingly and intentionally sought to

generate pretextual reasons to close the Colleges and encouraged its accreditor and other regulators

to do the same.

        213.    The Department also wrongfully and intentionally withheld HCM2 funds with the

intent of forcing closure and creating liabilities.

        214.    Further, the Department wrongfully and intentionally prevented CEHE from

entering teach-out agreements in order to prevent students from completing their programs,

thereby creating closed-school discharges.

        215.    The Department improperly influenced students to abandon their programs in order

to create additional closed-school discharges, for which CEHE would be held liable.

        216.    The Department knew or should have known its actions would cause CEHE to

close. CEHE notified the Department that it needed the Department to release HCM2 or escrow

funds to keep the schools operational until closure. The Department also knows that cutting off

Title IV funding will lead to closure.

        217.    Upon information and belief, the Department acted in bad faith with the intent to

harm CEHE and its Colleges.

        218.    The Department’s breach of its duties of good faith and fair dealing resulted in

CEHE suffering substantial damages of at least $500,000,000, including, but not limited to, the




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amount of the withheld HCM2 funds, interest, lost revenues CEHE would have earned had it not

been forced by the Department to close, and the destruction of viable institutions.

                     Count III – Breach of Contract (Escrow Agreement)

       219.    Paragraphs 1 through 218 are fully incorporated as if fully restated herein.

       220.    The Escrow Agreement, as modified by the Department in its letters dated January

9, 2017; November 13, 2017; May 20, 2020 (two letters); and May 29, 2020 (Exs. 6, 9, 11, 12, and

14, respectively), is a valid and enforceable contract.

       221.    The actions of those with authority to bind the Department and the United States

Government in requiring CEHE to post the escrow funds as financial security to the Department

for potential liabilities constituted a clear and unambiguous offer to continue CEHE’s Title IV

participation in exchange for entering the Escrow Agreement.

       222.    CEHE accepted the Department’s offer when it signed the Escrow Agreement and

posted the escrow funds.

       223.    The Escrow Agreement is supported by valuable consideration from both parties.

Among other things, CEHE was permitted to continue participating in Title IV programs. The

Department was granted limited access to valuable financial security, which mitigated any risk of

loss to the Department that may have arisen from CEHE’s participation in those programs.

       224.    The Department induced CEHE to enter the contract by conditioning CEHE’s and

the Colleges’ continued participation in Title IV on signing the Escrow Agreement and providing

the necessary escrow funds.

       225.    The Department’s promise to release the escrow funds at a specified time was a

material factor in CEHE’s agreement to enter the Escrow Agreement as well as its agreements to

allow the Department to modify the Escrow Agreement pursuant to the Department’s letters dated



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January 9, 2017; November 13, 2017; May 20, 2020 (two letters); and May 29, 2020 (Exs. 6, 9,

11, 12, and 14, respectively).

       226.    CEHE performed its obligations under the Escrow Agreement by posting the

escrow funds with the Department and by supplementing the escrow funds as was required by the

Department from time to time.

       227.    The Department breached the Escrow Agreement when it refused to return CEHE’s

funds following CEHE’s FYE 2020 audit submission.

       228.    Prior to the expiration of the Escrow Agreement, the Department failed to identify

any legitimate basis for continuing to hold the escrow funds.

       229.    The Department holds approximately $20,877,279 of CEHE’s escrow funds, which

CEHE provided to the Department to hold on CEHE’s behalf, subject to the terms of the Escrow

Agreement, as modified by the Department in its letters dated January 9, 2017; November 13,

2017; May 20, 2020 (two letters); and May 29, 2020 (Exs. 6, 9, 11, 12, and 14, respectively).

       230.    Accordingly, the Department’s breach has damaged CEHE in the amount of

$20,877,279, plus interest, based on the Department’s improper withholding of the escrow funds

and CEHE’s loss of use of the same.

                              Count IV – Breach of Fiduciary Duty

       231.    Paragraphs 1 through 230 are fully incorporated as if fully restated herein.

       232.    A breach of fiduciary duty exists where (1) there is a fiduciary relationship between

the plaintiff and defendant; (2) the defendant breached its fiduciary duty to the plaintiff; and (3)

the defendant's breach results in injury to the plaintiff or benefit to the defendant.

       233.    As holder of CEHE’s escrow funds, the Department took on a fiduciary relationship

with respect to CEHE’s escrow funds.



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       234.    The Department’s fiduciary duties included strict compliance with the terms of the

Escrow Agreement.

       235.    The Department breached its fiduciary duties to CEHE when it refused to return the

escrow funds to CEHE upon the expiration of the Escrow Agreement.

       236.    The Department holds approximately $20,877,279 of CEHE’s escrow funds, which

CEHE provided to the Department to hold on CEHE’s behalf, subject to the terms of the Escrow

Agreement, as modified by the Department in its letters dated January 9, 2017; November 13,

2017; May 20, 2020 (two letters); and May 29, 2020 (Exs. 6, 9, 11, 12, and 14, respectively).

       237.    Accordingly, the Department’s breach of its fiduciary duties has damaged CEHE

in the amount of $20,877,279, plus interest, based on the Department’s improper withholding of

the escrow funds and CEHE’s loss of use of the same.

       238.    Moreover, the Department has impermissibly benefited from its breach of fiduciary

duties by maintaining approximately $20,877,279 of CEHE’s money, plus interest.

         Count V – Improper Taking Under the Fifth Amendment (Escrow Funds)

       239.    Paragraphs 1 through 238 are fully incorporated as if fully restated herein

       240.    The Takings Clause of the Fifth Amendment of the Constitution precludes the

government from taking a private property interest for public use without just compensation.

       241.    CEHE has a private property interest in the escrow funds.

       242.    The Department’s sole basis for requiring CEHE to post the escrow funds was its

authority under 20 U.S.C. § 1099c and the Department’s implementing regulations, including 34

C.F.R. §§ 668.175(f), et seq.

       243.    When CEHE timely submitted its FYE 2020 audit submission, the Department had

no legitimate statutory, regulatory, or contractual basis to hold the escrow funds.



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       244.    By not releasing the escrow funds, the Department deprived CEHE of its property

(or interfered with CEHE’s property rights to an unlawful degree) in violation of the Takings

Clause of the Fifth Amendment.

       245.    Upon information and belief, the Department intends to use the escrow funds for

what it considers to be the public benefit, including funding former students’ closed-school

discharges under 34 C.F.R. § 685.214, loan discharges pursuant to the borrower defense to

repayment regulations under 34 C.F.R. § 685.206 and §685.222, and for use in the execution of

other Department functions.

       246.    The Department has not compensated CEHE for its taking of the escrow funds.

       247.    The Department’s unlawful taking of the escrow funds caused CEHE to lose

approximately $20,877,279, plus interest.

         Count VI – Improper Taking Under the Fifth Amendment (HCM2 funds)

       248.    Paragraphs 1 through 247 are fully incorporated as if fully restated herein.

       249.    CEHE has a private property interest in the HCM2 funds, which the Department

refused to reimburse to CEHE.

       250.    When CEHE submitted sufficient documentation proving the students’ eligibility

for the funds CEHE disbursed, the Department had a statutory and regulatory obligation to

reimburse CEHE for those funds. See, e.g., 20 U.S.C. §§ 1070a; Id. at 1087b(c); Id. at 1226a-1; 34

C.F.R. § 668.162.

       251.    By not reimbursing CEHE for the HCM2 funds, the Department deprived CEHE

of its property (or interfered with CEHE’s property rights to an unlawful degree) in violation of

the Takings Clause of the Fifth Amendment.




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        252.   Upon information and belief, the Department intends to use the HCM2 funds for

what it considers to be the public benefit, including funding former students’ closed-school

discharges under 34 C.F.R. § 685.214, loan discharges pursuant to the borrower defense to

repayment regulations under 34 C.F.R. § 685.206 and §685.222, and for use in the execution of

other Department functions.

        253.   CEHE is entitled to just compensation for the taking of its property in the amount

of the advanced funds, plus interest.

                                  Count VII – Illegal Exaction

        254.   Paragraphs 1 through 253 are fully incorporated as if fully restated herein.

        255.   When CEHE demonstrated that the students for which it advanced Title IV funds

on behalf of the Department were eligible for those funds, the Department was required by law to

reimburse CEHE for the funds. See, e.g., 20 U.S.C. §§ 1070a; Id. at 1087b(c); Id. at 1226a-1; 34

C.F.R. § 668.162.

        256.   The Department exceeded its authority by imposing documentation requirements

for reimbursement that were irrelevant to students’ eligibility for the specific funds advanced by

CEHE.

        257.   The Department also exceeded its authority by refusing to reimburse CEHE for

funds advanced to students who were eligible to receive those funds.

        258.   The Department compelled CEHE to bear the costs that the Department had a legal

duty to bear. Thus, the Department has in its pocket funds corresponding to the payments that

were the Department’s statutory and regulatory obligation.

        259.   CEHE is entitled to recover the total amount of the HCM2 funds, plus interest.




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                                    PRAYER FOR RELIEF

   Plaintiff requests the following relief:

              a.      That the Court award Plaintiff the amount of the escrow and HCM2 funds

      held by the Department without legal justification.

              b.      That the Court award Plaintiff damages, in the amount of $500,000,000, for

      the destruction of the Colleges and lost revenues as a result of the Department’s unlawful

      actions;

              c.      That the Court award pre-judgment and post-judgment interest at the

      maximum rate permitted under the law;

              d.      That the Court award such court costs, litigation expenses, and attorneys’

      fees as are available under applicable law; and

              e.      That the Court award such further and other legal or equitable relief as the

      Court deems just and proper.


Submitted on November 22, 2022, by
                                              ____/s/ Steven M. Gombos______
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